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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 Counsel to the Plan Administrator

 In re:                                                             Chapter 11

 BED BATH & BEYOND INC., et al.,1                                   Case No. 23-13359 (VFP)

                                   Debtors.                         (Jointly Administered)


            OBJECTION OF THE PLAN ADMINISTRATOR TO MOTION OF
          HRTC I, LLC FOR LEAVE TO FILE A LATE ADMINISTRATIVE CLAIM
                                                                                             2
          Michael Goldberg, as plan administrator (the “Plan Administrator”), files this objection

 (this “Objection”) to the Motion of HRTC I, LLC for Leave to File a Late Administrative Claim

 [Docket No. 2397] (the “Motion”) filed by HRTC I, LLC (“HRTC”) and respectfully requests


 1
     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The
     location of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
     chapter 11 cases is 650 Liberty Avenue, Union, New Jersey 07083.
 2
     The Plan Administrator has been appointed pursuant to the Debtors’ Plan, as defined herein. The Plan
     Administrator is responsible for and has the authority to administer certain post-confirmation responsibilities
     under the Plan on behalf of the Reorganized Debtors.



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 denial of the Motion. In support of this Objection, the Plan Administrator respectfully states

 as follows:

                                              Introduction

         1.       In the Motion, HRTC’s counsel acknowledges that the failure to file HRTC’s

 administrative claim (the “Administrative Claim”) by the applicable bar date was due to their own

 negligence, as set forth below:

                  However, the bar dates for administrative claims, including the date
                  applicable to “counterparties to unexpired leases of non-residential
                  real property—which leases have not been assumed, assumed and
                  assigned, or rejected” (July 21, 2023) did not get calendared. (Hilton
                  Decl. ¶ 5.) The reason is because the Lead Counsel failed to note
                  the date when he reviewed the Bar Date order and when he
                  forwarded the order to staff he did not properly instruct staff on how
                  to calendar the administrative claims bar date which, at the time, was
                  not a confirmed date but rather was dependent on future events, i.e.,
                  whether the HRTC I Lease would be assumed, assumed and
                  assigned, or rejected.

 Motion ¶ 6.

         2.       Allowing a late-filed claim merely because a party’s counsel has misread or

 neglected to read a bar date notice, which was not only mailed but also published, would not only

 risk creating an avalanche of late-filed claims, but it would vitiate the entire purpose of having a

 bar date.

         3.       Excusable neglect is subject to a high standard, based on a policy that favors finality

 and the ability to rely upon the body of claims filed on or before the bar date. To allow a late-filed

 claim based on excusable neglect is extraordinary relief, and in the case of an administrative claim,

 such relief would prejudice unsecured creditors by making it more difficult for them to obtain

 a recovery.




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         4.       The facts and circumstances described in the Motion do not rise to the level required

 to satisfy the excusable neglect standard. HRTC has not met its burden of proof that it is entitled

 to the extraordinary relief of a late filed claim. Accordingly, the Motion should be denied.

                                             Background

         5.       On April 23, 2023, each of the above-captioned debtors (the “Debtors”) filed a

 voluntary petition under chapter 11 of the Bankruptcy Code. During these chapter 11 cases, the

 Debtors continued to operate their businesses and manage their properties as debtors and debtors

 in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. These chapter 11

 cases are procedurally consolidated and jointly administered pursuant to Rule 1015(b) of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). No party has requested the

 appointment of a trustee or examiner in these chapter 11 cases. On May 5, 2023, the United States

 Trustee for the District of New Jersey (the “U.S. Trustee”) appointed an official committee of

 unsecured creditors pursuant to section 1102 of the Bankruptcy Code (the “Committee”)

 [Docket No. 218].

         6.       On May 31, 2023, the Court entered the Order (I) Setting Bar Dates for Submitting

 Proofs of Claim, Including Requests for Payment under Section 503(b)(9), (II) Establishing

 Amended Schedules Bar Date, Rejection Damages Bar Date, and Administrative Claims Bar Date,

 (III) Approving the Form, Manner, and Procedures for Filing Proofs of Claim, (IV) Approving

 Notice Thereof, and (V) Granting Related Relief [Docket No. 584] (the “Bar Date Order”).

 Pursuant to the Bar Date Order, “counterparties to unexpired leases of non-residential real

 property—which leases have not been assumed, assumed and assigned, or rejected—shall be

 required to file Administrative Claims no later than July 21, 2023.” Bar Date Order ¶ 6.




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         7.       The Bar Date Order also approved the form of bar date notice. Written notice of

 the applicable bar dates was mailed to, among others, all known creditors and other known holders

 of claims against the Debtors as of the date of the entry of the Bar Date Order, including all entities

 listed in the Schedules as holding claims against the Debtors, and to all parties who had filed

 requests for notices under Bankruptcy Rule 2002 as of the date of the Bar Date Order. In addition

 to mailing such actual notice, the Debtors also published notice of the applicable bar dates in The

 New York Times (National Edition).

         8.       On September 11, 2023, the Debtors filed their Second Amended Joint Chapter 11
                                                                                                              3
 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates [Docket No. 2160] (the “Plan”). On

 September 14, 2023, the Court entered an Order confirming the Plan (the “Confirmation Order”)

 [Docket No. 2172].

         9.       On September 29, 2023 (the “Effective Date”), the Debtors filed the Notice of

 (I) Entry of the Order (A) Approving the Disclosure Statement on a Final Basis and

 (B) Confirming the Second Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and its

 Debtor Affiliates and (II) Occurrence of Effective Date [Docket No. 2311]. Pursuant to the Plan,

 on the Effective Date, the Plan Administrator became the sole representative of the Wind-Down

 Debtors and assumed responsibility for purposes of resolving certain claims, performing claims

 reconciliation, and objecting to claims in accordance with the terms of the Plan

 Administrator Agreement.

                                                    Argument

         10.      HRTC cannot meet its burden to show the excusable neglect required in order to

 obtain relief from the Bar Date. The reason for the failure to file a timely claim, as set forth in the


 3
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Plan.

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 Motion, amounts to a failure to record the applicable bar date contained in the notices that were

 mailed and published. As discussed below, numerous courts have held that attorney mistake,

 without sufficient follow-up, is an insufficient ground to permit a late-filed claim. Accordingly,

 the Motion should be denied.

 I.      HRTC Cannot Demonstrate Excusable Neglect

         11.      HRTC has not demonstrated any excusable neglect. Bankruptcy Rule 9006(b)

 allows a party to request an extension of time when a failure to act timely was the result of

 “excusable neglect.” Fed. R. Bank. P. 9006(b). A finding of excusable neglect under Bankruptcy

 Rule 9006 is premised on the equities of the case and is a requirement for allowing a late-filed

 claim. See Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S. 380, 399 (1993).

 Pioneer sets forth a two-part test requiring a demonstration of neglect and that such neglect was

 excusable. Id. In determining whether excusable neglect exists, courts consider the relevant

 circumstances and weigh the following factors: “(1) the danger of prejudice to the debtor; (2) the

 length of the delay and its potential impact on judicial proceedings; (3) the reason for the delay,

 including whether it was within the reasonable control of the movant and; (4) whether the movant

 acted in good faith.” In re US Airways, Inc., No. 04-13819-SSM, 2005 Bankr. LEXIS 2696, at

 *22–23 (Bankr. E.D. Va. Nov. 21, 2005) (citing Pioneer, 507 U.S. at 394–95). “The burden of

 proving ‘excusable neglect’ is on the creditor seeking to extend the bar date.” Id. at *23 (citing In

 re Nutri*Bevco, 117 B.R. 771, 781 (Bankr. S.D.N.Y. 1990)). HRTC has failed to satisfy the

 requirements of establishing excusable neglect, and accordingly the Motion should be denied.

         A.       The Lack of a Basis for Delay Makes Excusable Neglect Impossible

         12.      In order to be entitled to an enlargement of time, the movant “must demonstrate

 some justification for the issuance of an extension.” Pioneer, 507 U.S. at 403 (citing Wright &

 Miller, 4B Fed. Prac. & Proc. Civ. § 1165 (3d ed.); see also Donald v. Cook County Sheriff’s Dept.,
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 95 F.3d 548, 558 (7th Cir. 1996) (finding that the lower court’s enlargement of time without a

 motion or showing of excusable neglect was in error). As noted by the Fourth Circuit in Thompson

 v. E.I. DuPont de Nemours & Co., 76 F.3d 530, 534 (4th Cir. 1996), a case analyzing the excusable

 neglect standard in the context of a failure to file a timely notice of appeal, “[t]he most important

 of the factors identified in Pioneer for determining whether ‘neglect’ is ‘excusable’ is the reason

 for the failure to file the notice of appeal within thirty days.” Id. “‘Excusable neglect’ is not easily

 demonstrated, nor was it intended to be.” Id. Mere oversight or “administrative failure” does not

 satisfy the requirement. Id. (citing In re O.P.M. Leasing Serv., Inc., 769 F.2d 911, 917 (2d Cir.

 1985)). Accordingly, the most important component of excusable neglect is the basis for the

 failure to comply, and the movant must put forth some extenuating circumstance. See Pioneer,

 507 U.S. at 403. HRTC has failed to do so.

         13.      Courts have routinely denied motions to allow late filed claims under similar

 circumstances. In KMart, the Seventh Circuit found there had been no error when the bankruptcy

 court declined to find excusable neglect where the proof of claim had been filed one day after the

 bar date as a result of a mistake. In re KMart Corp., 381 F.3d 709, 712 (7th Cir. 2004). In that

 case, the claimholder’s attorney had delegated the filing of the claim to an office clerk. Id. The

 office clerk mailed the claim, but, at the post office, checked the box for second day delivery

 instead of next day delivery. Id. Counsel did not “make any follow-up phone calls to ensure that

 the proof of claim was timely received.” Id. Counsel discovered the mistake and, three months

 after the bar date, filed the motion to allow, arguing that the “reason for the delay . . . was nothing

 more than an innocent mistake.” Id. at 715. The Seventh Circuit found that the bankruptcy court

 did not commit clear error when it found there was no evidence of excusable neglect and it




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 expressed agreement with other “bankruptcy and district courts—the delay in filing [the] proof of

 claim was entirely within [counsel’s] control. Put more directly, it was her own fault.” Id.

         14.      The bankruptcy court for the Southern District of New York, ruling on similar facts,

 likewise found there had been no excusable neglect where counsel failed to follow up on a late

 filed claim. In Musicland, the attorney for a claimholder had prepared a proof of claim but, due to

 an apparent “miscommunication between [the attorney’s] staff and [the attorney],” the claim was

 not filed. In re Musicland Holding Corp., 356 B.R. 603, 609 (Bankr. S.D.N.Y. 2006). Upon

 discovering the mistake approximately a month after the claims bar date, the attorney filed a

 motion to allow a late claim, arguing that the delay in filing was the result of excusable neglect.

 Id. The court denied the motion, noting that “there is no evidence that counsel took any of the

 several available steps to confirm the filing of the claim,” in particular that counsel made “no

 follow-up calls” and that counsel “never checked” whether the claim appeared on the electronic

 claims register. Id. at 609. See also In re Enron Corp., 419 F.3d 115 (2d Cir. 2005) (citations

 omitted) (“[T]he equities will rarely if ever favor a party who fail[s] to follow the clear dictates of

 a court rule, and . . . where the rule is entirely clear, we continue to expect that a party claiming

 excusable neglect will, in the ordinary case, lose under the Pioneer test.”); In re Nortel Networks

 Inc., 573 B.R. 522, 527 (Bankr. D. Del. 2017) (citations omitted) (citing Enron approvingly and

 noting that “other courts have, for the most part, adopted a similar hard line to applying Pioneer

 that emphasizes the reason for the delay”); In re Goody’s Family Clothing, Inc., 443 B.R. 5, 16

 (Bankr. D. Del. 2010) (applying Pioneer and ruling that a five-month delay in filing a claim

 weighed against the claimholder).

         15.      HRTC asserts no facts that explain the reason why it failed to file a proof of claim

 other than oversight or administrative failure. Ultimately, the neglect described in the Motion was


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 not “excusable,” as set forth by the Bankruptcy Code, and is quite contrary to the situation in

 Pioneer, which depended heavily on the fact that the notice was outside the ordinary course. See

 In re Rose’s Stores, Inc., 165 B.R. 410, 412 (E.D.N.C. 1994) (citing Pioneer). There is nothing

 out of the ordinary in this situation; HRTC simply lost track of the applicable bar date. Such a

 basis cannot constitute excusable neglect and should not reduce the recovery of parties who timely

 filed claims.

         B.       Allowing A Late-Filed Claim Would
                  Prejudice The Debtors And Their Creditors

         16.      Allowing HRTC to file the Administrative Claim at this stage would violate the Bar

 Date’s purpose: to act as a “statute of limitations and effectively exclude such late claims in order

 to provide the Debtor[s] and [their] creditors with finality to the claims process and permit the

 Debtor[s] to make swift distributions under the Plan.” In re XO Commc’ns, Inc., 301 B.R. 782,

 787–88 (Bankr. S.D.N.Y. 2003). Courts have generally held that bar dates further the policy of

 finality that the Bankruptcy Code is intended to bestow, and to allow otherwise “would be to

 sanction a form of slow torture contrary to the spirit and purposes of the bankruptcy laws.” US

 Airways, 2005 Bankr. LEXIS 2696, at *24 (quoting In re Peters, 90 B.R. 588, 597 (Bankr.

 N.D.N.Y. 1988)). To grant the Motion would establish a policy that “would, in effect, allow any

 creditor who has neglected to comply with a bar date to seek an extension.” Id. at *25 (quoting In

 re Best Products Co., 140 B.R. 353, 359 (Bankr. S.D.N.Y. 1992)).

         17.      Moreover, granting the relief sought in the Motion could open the door for

 countless other administrative claims to be filed late, thereby thwarting the very certainty that the

 applicable bar dates were intended to provide in these chapter 11 cases. See In re Gantt, 153 F.3d

 720, 1998 U.S. App. LEXIS 16742, at *10 (4th Cir. 1998) (discussing the risk that treating

 counsel’s conduct as excusable neglect would “risk opening a door that should not be opened in

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 fair and efficient bankruptcy administration”). Here, there are no extenuating circumstances that

 led to HRTC’s failure to timely file a claim; rather, there is merely a failure to act on the

 information provided to HRTC. If the relief sought in the Motion is granted, other parties will feel

 emboldened to seek relief for late-filed claims even when such relief is premised on similarly weak

 (or non-existent) bases. To avoid such an outcome, the Court should enforce the bar dates that

 have already been established in these chapter 11 cases.

         18.      Allowing HRTC to file the Administrative Claim would prejudice the Debtors’

 stakeholders. Upon expiry of the applicable bar dates, the Debtors could reasonably believe that

 all claimants had come forward, which would allow the Debtors to calculate their outstanding

 liabilities to creditors for an effective reorganization and to provide stakeholders with an

 understanding of general exposure to claims and administrative expenses for the purposes of

 negotiating the Plan. If allowed, the Administrative Claim would further dilute the funds available

 for certain creditors. Late-filed claims would result in reduced recoveries to those creditors who

 did comply with the applicable bar dates. Given the current status of these chapter 11 cases and

 the likely impact of granting the Motion, this factor weighs heavily against a finding of

 excusable neglect.

         C.       The Length Of Delay Is Unreasonable Under The Circumstances

         19.      Courts have emphasized that carelessness does not rise to the level of excusable

 neglect and that, accordingly, a delay resulting from carelessness is not reasonable. “[W]here there

 is no excuse for the late filing of a proof of claim other than the carelessness of the creditor or the

 creditor’s attorney, such neglect is not excusable.” In re Quartercall Commc’ns, Inc., No. 95-

 15090-AM, 1996 Bankr. LEXIS 2042, at *13 (Bankr. E.D. Va. May 15, 1996) (citing In re Rose’s

 Stores, 165 B.R. at 410).



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         20.      Under the circumstances, HRTC’s length of delay is unreasonable. HRTC provides

 no justification to support its position, other than administrative oversight. The bankruptcy estates

 and the Debtors’ stakeholders should not be responsible for the inaction and miscommunication

 of creditors or their attorneys, especially after the Debtors had discharged their duty to provide

 notice to the relevant parties.

         21.      Courts have denied requests for late-filed claims made even two weeks after the bar

 date. See Rose’s, 165 B.R. at 412 (finding that a two-week delay was not excusable neglect where

 the creditor was aware of the bar date and provided no excuse for the failure to act). In light of

 such factors, the length of the delay weighs against a finding of excusable neglect.

         D.       In Light Of Other Factors, Good Faith
                  Is Insufficient To Warrant Excusable Neglect

         22.      While the Plan Administrator cannot conclude that HRTC acted in bad faith, HRTC

 has failed to satisfy any of the other factors set forth in Pioneer. Even in the apparent absence of

 bad faith, this factor alone, in light of the weight of the other factors, is insufficient to satisfy

 HRTC’s burden. See Rose’s, 165 B.R. at 412 (finding that even though good faith existed, other

 factors weighed against a finding of excusable neglect).


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                                                     Conclusion

         For the foregoing reasons, the Plan Administrator respectfully objects to the Motion and
                                                 4
 requests that the Court deny the Motion.



 Dated: October 17, 2023                     /s/ Bradford J. Sandler
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                                            Counsel to the Plan Administrator




 4
     For the avoidance of doubt, the Plan Administrator reserves his rights to object to any other claims that have been
     or may be filed by HRTC on any grounds whatsoever. Moreover, should the Motion be granted, the Plan
     Administrator hereby reserves his rights to object to the Administrative Claim on any grounds whatsoever.


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